36 F.3d 1092
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.George JOYNER, Plaintiff Appellant,v.E.W. MURRAY;  E.C. Morris;  Lonnie M. Saunders;  DavidSmith;  Rufus Fleming;  Lieutenant Yates;  Sergeant Mosely;Sergeant Toney;  Officer Walker;  Daniel T. Mahon;  Mrs.Edwards;  Thomas Neumayer;  Captain Farmer;  LieutenantStreat;  James Marvin Cooper, Defendants Appellees.
    No. 94-6520.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 25, 1994Decided Oct. 5, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Chief District Judge.  (CA-92-908-R).
      George Joyner, appellant Pro Se.
      Mary Christine Maggard, Office of the Attorney General of Virginia, Richmond, VA, for appellees.
      W.D.Va.
      AFFIRMED.
      Before RUSSELL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying monetary relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Joyner v. Murray, No. CA-92-908-R (W.D.Va. Mar. 28, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    